                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                   § BK CASE NO. 18-82774-CRJ-13
                                                    §
LINDA HILL                                          § CHAPTER 13
SSN: XXX-XX-0768                                    §
                                                    §
       Debtor                                       §
                                                    §

LINDA HILL                        § AP CASE NO. 19-80011-CRJ-13
                                  §
    Plaintiff,                    §
                                  §
v.                                §
                                  §
BANK OF AMERICA and               §
CARRINGTON MORTGAGE SERVICES, LLC §
                                  §
    Defendants.                   §


    MEMORANDUM OF LAW REGARDING THE AUTHORITY OF THE COURT
       TO ENTER FINAL ORDERS AWARDING PUNITIVE DAMAGES
                  UNDER THE BANKRUPTCY CODE

       Carrington Mortgage Services, L.L.C. (“Carrington”) and Bank of America, N.A.

(“BOA”), through undersigned counsel, hereby file this Memorandum of Law Regarding the

Authority of the Court to Enter Final Orders Awarding Punitive Damages Under the Bankruptcy

Code (the “Memorandum”), as required by that certain Order Requiring Brief Regarding the

Authority of the Court to Award Punitive Damages Under the Bankruptcy Code [Doc. No. 13]

(the “Order”).

                                     INTRODUCTION

       The Courts of Appeal long have been divided on whether Article I bankruptcy courts have

the power to impose punitive contempt sanctions because they implicate fundamental due process




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protections the bankruptcy courts cannot provide.1 The majority of the Courts of Appeal that have

addressed the issue have held that bankruptcy courts lack the power to impose punitive sanctions,

usually in the context of contempt powers under Bankruptcy Code § 105(a).2 The due process

concerns the appellate courts have expressed in the § 105(a) context apply with equal force to §

362(k).3 Those concerns support the view that a fixed award of punitive damages for a prior

violation of the automatic stay is a criminal contempt sanction that an Article I bankruptcy court

may not impose through a final order absent the explicit consent of an Article III district court and

the parties to the contempt proceeding.

         Separately, Stern v. Marshall4 teaches that Congress may not by statute grant powers to the

bankruptcy courts if the Constitution does not authorize those powers.5                               Stern requires

consideration of whether the Constitution authorizes Article I bankruptcy courts to issue final

orders imposing punitive (criminal) sanctions. If the Constitution does not provide such authority,

then, notwithstanding § 362(k) of the Bankruptcy Code, bankruptcy courts may not issue such

final orders.


1
  While there is a broad consensus that bankruptcy courts have the power to adjudicate civil contempt and impose
compensatory sanctions in a wide variety of factual and procedural contexts, criminal contempt proceedings (which
is characterized by the imposition of punitive sanctions) activate due process protections that Article I courts lack to
power to afford.
2
  See Hon. Frank J. Bailey and Dominic A. Litz, In This Issue: Dicta, Are Bankruptcy Courts Sanctioned to Sanction?,
39 Am. Bankr. Inst. J. 50 (Apr. 2018) (hereinafter, “Bankruptcy Court Sanctions”); In re Dyer, 322 F.3d 1178, 1193
n. 15 (9th Cir. 2003) (collecting cases from both sides of the circuit split). The 11th Circuit has not addressed this
precise issue directly. Cf. In re McLean, 794 F.3d 1313 (11th Cir. 2015); and In re Jove Eng’g, Inc., 92 F.3d 1539,
1554, 1557-59 (11th Cir. 1996).
3
  “The proposition that due process prevents a bankruptcy court from imposing serious punitive sanctions under the
contempt authority of § 105(a) for an automatic stay violation has been portrayed as being in tension with the
bankruptcy court’s authority to impose punitive damages under § 362(h) [now § 362(k)]. See Cox v. Delaware, Inc.,
239 F.3d 910, 916 (7th Cir. 2001) (so stating).” Dyer, supra, 322 F.3d at 1194. “It is true that 362(h) of the Bankruptcy
Code expressly authorized an award of punitive damages for the willful violation of the statutory injunction created
by section 362 (the automatic stay), and it has been assumed the bankruptcy judges can enforce that subsection as
well as the rest of section 362. … We can save the issue of the bankruptcy judges’ criminal-contempt powers for
another day.” Cox, supra, 239 F.3d at 917 (emphasis added).
4
  ___ U.S. ___, 131 S. Ct. 2594, 180 L.Ed. 2d 475 (2011).
5
  Claims governed by Stern are those “designated for final adjudication in the bankruptcy court as a statutory matter,
but prohibited from proceeding in that way as a constitutional matter.” Wortley v. Bakst, 844 F.3d 1313, 1318 (11th
Cir. 2017) (quoting Stern).

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                                       PROCEDURAL HISTORY

        In this adversary proceeding, Plaintiff seeks punitive damages against Carrington and BOA

under § 362(k) of the Bankruptcy Code. See Complaint at ¶ 18 [Doc. No. 1 at p. 4]. In their

Answer to the Complaint, Carrington and BOA asserted the following affirmative defense:

                            FORTY-FIRST AFFIRMATIVE DEFENSE

                         Plaintiff’s claims for punitive damages are barred because,
                 although 28 U.S.C. §§ 1334(b) and 157(b)(2)(A) and 11 U.S.C. §
                 362(k) grant the bankruptcy courts authority to impose punitive
                 damages for willful violations of the automatic stay of 11 U.S.C. §
                 362(a), as non-Article III courts, the bankruptcy courts lack
                 authority under the United States Constitution to adjudicate and
                 impose punitive damages, which are penal and criminal in nature,
                 without the express or implied consent of Carrington and BOA,
                 which consent is hereby specifically withheld. Wellness Int’l
                 Network, Ltd. v. Sharif, 135 S. Ct. 1932 (2015); Stern v. Marshall,
                 131 S. Ct. 2594 (2011).

See Answer, Forty-First Affirmative Defense (the “Affirmative Defense”) [Doc. No. 7 at p. 14].

        At the status conference held on March 20, 2019 [Doc. No. 8], the Court ordered Carrington

and BOA to file a brief addressing the basis for the Affirmative Defense. See Order. Prior to the

status conference, Plaintiff filed an Amended Complaint [Doc. No. 11]. Subsequent to the status

conference and to the entry of the Order, Carrington and BOA filed their Answer to Debtor’s

Amended Complaint [Doc. No. 19] (the “Amended Answer”). The Amended Answer does not

assert the Affirmative Defense.6

        This is the Memorandum the Court ordered Carrington and BOA to file.

                                               DISCUSSION

1.      Nature of the Automatic Stay

        The automatic stay of § 362(a) is, in essence, “a specific and definite order of the court”


6
 The Amended Answer maintains all of the other affirmative defenses relative to punitive damages at issue in this
Adversary Proceeding.

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that acts as an injunction.7 Like violations of any injunction, a stay violation “is punishable as

contempt of court.”8

2.      Civil v. Criminal Contempt Sanctions

        Sanctions for contempt violations may be either civil or criminal in nature. “The purpose

of civil contempt sanctions is to (1) compensate the complainant for losses and expenses it incurred

because of the contemptuous act, and (2) coerce the contemnor into complying with the court

order.”9 Sanctions which vindicate some public interest, and those which the contemnor does not

have the ability to purge (to control the extent of the sanction), are criminal in nature.10 A fixed

award of punitive damages for a past violation of the automatic stay, therefore, is a criminal

sanction because it serves the general public interest of deterring future violations of the automatic

stay more that it serves the movant’s particular interest and because the contemnor cannot purge

itself of the sanction.11

        The imposition of criminal contempt sanctions activates specific due process protections:

“[D]ue process requires that individuals accused of criminal contempt receive several procedural

protections, including a jury trial, before ‘serious criminal penalties’ can be imposed.”12 An

alleged contemnor must be “presumed innocent, proved guilty beyond a reasonable doubt,…[and]

afforded a jury trial for serious contempts.”13




7
  Dyer, supra, 322 F.3d at 1191-92.
8
  In re L.H. & A. Realty, Inc., 62 B.R. 910, 917-18 (Bankr. D. Vt. 1986); 3 Collier on Bankruptcy ¶ 362.12[2] (16th
ed. Apr. 2019) (citing Jove Eng’g, supra).
9
   Jove Eng’g, supra, 92 F.3d at 1557. Sanctions imposed for civil contempt to coerce compliance may not be so
excessive as to be punitive in nature. Id. at 1558. Accord, McLean, supra, 794 F.3d at 1323.
10
    Jove Eng’g, supra, 92 F.3d at 1558.
11
    Id. at 1559.
12
    Dyer, supra, 322 F.3d at 1194, citing F.J. Hanshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128, 1138
(9th Cir. 2001), and Int’l Union, U.M.W. of America v. Bagwell, 512 U.S. 821, 833 (1994).
13
    McLean, supra, 794 F.3d at 1324.

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3.      Bankruptcy Courts Lack the Authority to Issue Final Orders in Criminal Contempt
        Proceedings

        A. Bankruptcy Courts Cannot Provide the Due Process Protection Requireds to Impose
           Criminal Contempt Sanctions.

        Bankruptcy courts lack the essential attributes, and may not exercise the full judicial

powers, of Article III courts. For example, bankruptcy courts cannot preside over jury trials

without the explicit consent of the district court and the trial parties.14 Because bankruptcy courts

lack the power to provide all of the due process protections defendants in criminal contempt

proceedings must be afforded, it follows that bankruptcy courts may not enter final orders

imposing criminal punitive damages under § 362(k).

        B. Criminal Contempt Proceedings Are Not Core Proceedings.

        Bankruptcy courts may issue final orders only in “core” proceedings. Core proceedings are

(i) proceedings in cases under title 11, (ii) proceedings arising in cases under title 11 and (iii)

matters arising under title 11.15 It long has been recognized that civil contempt proceedings arising

from core bankruptcy court matters are core as well.16 However, a criminal contempt proceeding

for a violation of a bankruptcy court order is not itself a “core” proceeding in a case under title 11

because punitive contempt proceedings are separate and independent matters which may be

prosecuted after the underlying title 11 case has concluded.17




14
   28 U.S.C. § 157(e); Matter of Hipp, Inc., 895 F.2d 1503 (5th Cir. 1999).
15
   28 U.S.C. § 157(b).
16
   See, e.g., L.H. & A. Realty, supra.
17
   Hipp, supra, 895 F.2d at 1518 (while civil contempt orders arguably are core because they are inseparable from the
underlying core proceedings, criminal contempts are separate and independent proceedings which can be prosecuted
even after the underlying proceeding has wholly terminated, such that a criminal contempt for violation of a
bankruptcy court order is not a “core” proceeding); accord, In re Hake, 2006 Bankr. LEXIS 2428 at * 9-10 (6th Cir.
BAP, Oct. 3, 2006).

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        C. Stern Precludes Bankruptcy Courts from Entering Final Orders in Criminal Contempt
           Proceedings

        Regardless of whether criminal contempt proceedings under § 362(k) are core matters,

Stern requires a further analysis and consideration of whether the bankruptcy courts may enter

final orders granting punitive sanctions. While Congress may pass a statute designating a

proceeding as “core”, it may not vest the bankruptcy courts with a power the Constitution does not

authorize, or a power that violates other constitutional protections. That is Stern’s essence:

                          The bankruptcy court is not a tribunal provided for in Article
                  III of the Constitution. As such, there are limits on the power of
                  Congress to direct what matters may be subject to final orders and
                  judgments in the bankruptcy court. Stern v. Marshall, 131 S. Ct.
                  2594, 2608-20, 180 L. Ed. 2d 475 (2011). The proceedings
                  described as core in 28 U.S.C. § 157(b) could include matters in
                  which the bankruptcy court may not enter final orders or judgments
                  consistent with the limits of Article III, absent consent of the parties.
                  Id. Thus, to determine whether a particular proceeding may be
                  subject to entry of a final order or judgment in the bankruptcy court,
                  it is necessary to determine whether the proceeding is a core
                  proceeding within the meaning of section 157(b), and also whether
                  entry of such final order or judgment would exceed the limits
                  imposed by Article III of the Constitution. Id.18

        Arguably, Congress granted “core” status to punitive damages proceedings in § 362(k)

such that, under § 157(b), the bankruptcy courts may “hear and determine” and may issue final

orders in such proceedings.19 But the due process protections afforded those facing criminal

(punitive) contempt sanctions require a Stern examination as to whether that statutory grant is

constitutional.

        The prevailing trend in the development of bankruptcy law has been to restrict, rather than

expand, the bankruptcy courts’ contempt authority.20 One district court recently agreed with the



18
   In re Gladstone, 513 B.R. 149, 154 (Bankr. S.D. Fla. 2014) (emphasis added); see also Wortley, supra, 844 F.3d at
1318.
19
   28 U.S.C. § 157(b)(2)(A) (“matters concerning the administration of the estate”).
20
   PHH Mortgage Corp. v. Sensenich, 2017 U.S. Dist. LEXIS 207801 at *18-19 (D. Vt., Dec. 18, 2017).

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majority of circuit court opinions on the issue.             That court vacated a bankruptcy court’s

$300,000.00 punitive sanctions award, issued under § 105(a) and the bankruptcy court’s inherent

authority, against a mortgage servicer for violating Bankruptcy Rule 3002.1, because such an

award “exceeded the scope of the Bankruptcy Court’s powers”.21 Because § 362(k) implicates

those very same concerns, the same result should apply.

4.      Carrington and BOA Do Not Consent to the Entry of Final Orders

        Wellness Int’l Network, Ltd. v. Sharif22 instructs that bankruptcy litigants may consent,

explicitly or implicitly, to final adjudication by bankruptcy courts over claims that are non-core or

that are governed by Stern.23 Carrington and BOA do not so consent.

                                             CONCLUSION

        In sum, absent consent, bankruptcy courts may not enter final orders imposing punitive

damages under § 362(k) for automatic stay violations if those damages amount to criminal

contempt sanctions, because such final orders may be entered only by the Article III district courts.

        Respectfully submitted, this 1st day of April, 2019.

                                                   /s/ Christopher A. Bottcher
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21
   Id. at *13-24; see also Bankruptcy Court Sanctions, supra, n. 1.
22
   ___ U.S. ___, 135 S. Ct. 1932, 1941-42, 191 L. Ed 2d 911 (2015).
23
    Wortley, supra, 844 F.3d at 1318 (Wellness holds “that, under Article III, litigants may validly consent to
adjudication by bankruptcy courts over claims governed by” Stern).

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                                CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing with the Clerk of the Court electronically through
the CM/ECF system on April 1, 2019, which will send notification of this filing to the following:

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